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 1                                 UNITED STATES DISTRICT COURT                         2019 FEB - 7 AN JO: 33
                                       DISTRICT OF VERMONT
 2
                                                                                                CLERK
 3   MIGRANT JUSTICE, a Vermont corporation,             Case No. Case No. 5:18-c~)i~            {dyy
     on its own behalf and on behalf of its members;                                         E?ury CLERK
 4   JOSE ENRIQUE BALCAZAR SANCHEZ;
     ZULL Y PALACIOS RODRIGUEZ; JOSE
 5   VICTOR GARCIA DIAZ;;
 6                  Plaintiffs,
 7          V.

 8   KIRSTJEN NIELSEN, Secretary of the U.S.
     Department of Homeland Security (DHS);
 9   RONALD VITIELLO, Deputy/Acting
     Director, U.S. Immigration and Customs
IO   Enforcement (ICE); MATTHEW ALBENCE,
     ICE/DHS Executive Associate Director,
11   Enforcement and Removal Operations;
     WANDA MINO LI, Vermont Department of
12   Motor Vehicles (DMV) Commissioner;
     UNITED STA TES OF AMERICA;
13
                    Defendants.
14

15

16                                    FIRST AMENDED COMPLAINT

17                                               INTRODUCTION
18          I.      Migrant Justice organizes and advocates for Vermont's immigrant farmworkers-a

19   community of approximately 1,500 people who labor long hours under grueling and often dangerous

20   conditions. The organization has achieved remarkable success in organizing workers to assemble,

21   publicly protest, march, and assert their perspectives in the larger marketplace of commerce and

22   ideas. Migrant Justice's members have identified four core areas of organizational focus: dignified

23   work and quality housing, freedom of movement and access to transportation, freedom from

24   discrimination, and access to healthcare.

25          2.      In the course of its advocacy, Migrant Justice has loudly and publicly criticized U.S.

26   Immigration and Customs Enforcement ("ICE"). ICE has retaliated, and continues to retaliate, by

27   disrupting Plaintiffs' advocacy and infringing upon their First Amendment rights.

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 1          3.      ICE has infiltrated Migrant Justice's private meetings; targeted, surveilled, and

2    engaged in disinformation campaigns to sow distrust among its members; and arrested and/or

3    detained no fewer than twenty active Migrant Justice members, including the Individual Plaintiffs-

4    each of whom played and continues to play a critical role in Migrant Justice's advocacy.

5           4.      ICE takes these actions because Plaintiffs are engaged in First Amendment activities

6    and to deter them and others from engaging in similar activity.

7           5.      ICE advances its retaliatory agenda with the assistance of the Vermont Department of

 8   Motor Vehicles ("DMV"). Motivated by racial and xenophobic animus, DMV employees give ICE

 9   private driver information, including the personal information and location, of non-white,

10   predominately Latino, individuals.

11          6.      ICE's actions have chilled and continue to chill Migrant Justice's ability to organize

12   and advocate for migrant workers. Fewer members attend community assemblies, events, protests,

13   and rallies. Migrant Justice finds it more difficult to enlist members to speak at public events. ICE

14   has also frustrated Migrant Justice's ability to advocate for fair labor practices and economic justice.

15   Time and money once dedicated to this mission are now used to advance funds towards immigration

16   bonds and attorneys' fees and to fight detentions of members.

17          7.      As for the Individual Plaintiffs, not only has ICE chilled their speech and interfered

18   with their association, but ICE's surveillance, harassment, arrest, and detention of them has caused

19   and continues to cause them significant emotional distress.

20          8.      Plaintiffs seek injunctive and declaratory relief to end Defendants' unlawful and

21   discriminatory practices, as well as monetary damages against the United States.

22                                      JURISDICTION AND VENUE

23          9.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 (federal

24   question), 1343 (civil rights), and 1346 (United States as Defendant), and 42 U.S.C. § 1983. The

25   Court has authority to grant declaratory relief under 28 U.S.C. § 2201.
26           10.    Venue is proper in this district under 28 U.S.C. § 139l(b)(2) because a substantial part

27   of the events giving rise to Plaintiffs' claims occurred in this district, under 28 U.S.C. § 1391(b)(l)
28   because the DMV is located in the district, and also under 28 U.S.C. § 1391(e) because Defendants



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1    Nielsen, Vitiello, and Albence are officers and employees of the United States or its agencies

2    operating under color of law, and a substantial part of the events or omissions giving rise to the

3    claims have occurred and are occurring in this judicial district.

4                                                   PARTIES

5           A.      Plaintiffs
6            11.    Plaintiff Migrant Justice, Inc. is a non-profit, non-partisan organization that was

7    established in 2009. Migrant Justice's mission is "to build the voice, capacity, and power of the

 8   farmworker community and engage community partners to organize for economic justice and human

 9   rights. [Migrant Justice] gathers the farmworker community to discuss and analyze shared problems

10   and to envision collective solutions. Through this ongoing investment in leadership development,

11   members deepen their skills in community education and organizing for long-term systemic change."

12   More than 90 percent of Migrant Justice members are Latino. Migrant Justice brings this lawsuit on

13   its own behalf, as well as on behalf of its members.
14           12.    Plaintiff Jose Victor Garcia Diaz has been an active and visible Migrant Justice

15   member since 2013. He is a dairy worker in Vermont and a nationally-recognized human rights

16   leader. Plaintiff Garcia Diaz contacted Migrant Justice after enduring years of inhumane conditions

17   on a Vermont dairy farm. He became a leader in an effort by farmworkers and allies to march on the

18   Ferrisburgh farm that employed him and as a result won nearly $2,000 in back wages for dairy

19   workers. As a member of Migrant Justice's Farmworker Coordinating Committee, Plaintiff Garcia

20   Diaz helped build the Milk with Dignity Program, which seeks to establish fundamental labor

21   protections for the Vermont dairy worker community. To this end, Plaintiff Garcia Diaz represented

22   his community in meetings and negotiations with Ben & Jerry's, a prominent Vermont, national, and

23   international purchaser of dairy products, during the process of the company committing to join the

24   Milk with Dignity Program. He resides and has resided in Vermont during the events relevant to this

25   Complaint and is Latino.

26           13.     Plaintiff Jose Enrique "Kike" Balcazar Sanchez has been an active and visible

27   Migrant Justice member since 2011. He is a leader with Migrant Justice and a former dairy worker.

28   He continues to be one of Migrant Justice's primary spokespeople. He was a lead spokesperson in its



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 1   campaign to expand access to driving privileges and for a fair and impartial policing policy to limit

 2   law enforcement collaboration with ICE. Plaintiff Balcazar Sanchez was also one of the primary

 3   architects of the Milk with Dignity Program. He helped lead the campaign that resulted in Ben &

 4   Jerry's committing to join the Milk with Dignity Program in 2015, and he was central to securing

 5   finalization of Ben & Jerry's commitment in 2017. He has appeared routinely in local and national

 6   press coverage for several years. Plaintiff Balcazar Sanchez serves on the Vermont Attorney

 7   General's Immigration Task Force, representing immigrant farmworkers, helping to craft a guidance

 8   manual for Vermont cities and towns regarding their role in immigration law enforcement, and

 9   advocating for policies to provide stronger protections for Vermont's immigrant communities. He

10   resides and has resided in Vermont during the events relevant to this Complaint and is Latino.

11          14.     Plaintiff Zolly Palacios Rodriguez has been an active and visible Migrant Justice

12   member since 2016. She was a vocal leader in Migrant Justice's women's group, which organizes

13   groups of women who are immigrant farmworkers. She became involved with Migrant Justice in

14   2016, aiding in a successful campaign to free then-detained Migrant Justice leader and co-Plaintiff

15   Garcia Diaz. She participated in the successful campaign to secure a commitment from Ben &

16   Jerry's to join the Milk with Dignity Program. Plaintiff Palacios Rodriguez is involved in the

17   national movement for immigrant rights and food justice, representing Migrant Justice in gatherings

18   of the Food Chain Workers Alliance and the Co secha Movement. She resides and has resided in

19   Vermont during the events relevant to this Complaint and is Latina.

20          B.      Defendants
21   Federal Defendants

22          15.     Defendant Kirstjen Nielsen is Secretary of the United States Department of

23   Homeland Security ("OHS"). In this capacity, she is charged with enforcing and administering U.S.

24   immigration laws. She is sued in her official capacity.

25          16.     Defendant Ronald Vitiello is the Deputy Director and Senior Official Performing the

26   Duties of Director for U.S. Immigration and Customs Enforcement. In this capacity, he is charged

27   with administering the enforcement of United States immigration law. He is sued in his official
28   capacity.



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 1           17.    Defendant Matthew Albence is the Executive Associate Director ofICE's

 2   Enforcement and Removal Operations ("ERO") and Senior Official Performing the Duties of Deputy

 3   Director. He is sued in his official capacity.

 4           18.     Defendants Nielsen, Vitiello, and Albence are collectively referred to herein as "DHS

 5   Defendants." At all relevant times, DHS Defendants were acting under color of law, as agents,

 6   employees, and/or representatives of the United States.

 7           19.     Defendant United States of America is sued for Plaintiffs' injuries caused by the

 8   wrongful acts or omissions of its employees. Those employees were acting within the scope of their

 9   employment under circumstances in which the United States, if a private person, would be liable to

10   Plaintiffs according to the laws of Vermont.

11   Vermont DMV Defendant

12           20.     Defendant Wanda Minoli is the Commissioner of the Vermont Department of Motor

13   Vehicles. In this capacity, she is charged with enforcing and administering the regulations governing

14   the DMV, the governmental agency responsible for registering and inspecting automobiles and other

15   motor vehicles as well as licensing drivers in Vermont. At all relevant times, Defendant Minoli was

16   acting under color oflaw, as an agent, employee, and/or representative of Vermont. She is sued in

17   her official capacity.

18           21.     Federal and DMV Defendants are collectively referred to herein as "Defendants."

19                                        FACTUAL ALLEGATIONS

20           A.      Migrant Justice and Its Members Engage in Protected Speech, Win Changes that
21                   Improve the Lives of Migrants, and Criticize ICE and the DMV.
             22.     Migrant Justice fights for the rights of the approximately 1,500 migrant farm workers
22
     in Vermont. These workers typically work sixty to eighty hours per week, endure extreme isolation,
23
     and are systemically excluded from many worker and housing rights protections.
24
             23.     Within the past decade, Migrant Justice's organizing and advocacy has focused on
25
     improving working conditions at dairy farms across the state; partnering with the Vermont Workers'
26
     Center to include undocumented people in Vermont's 2011 groundbreaking universal healthcare
27
     legislation; winning tens of thousands of dollars in back wages through Migrant Justice's Workers'
28



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 1   Rights Hotline; and advocating for the Vermont Department of Labor to change employment law

 2   related to collection of unpaid wages, among other activities.

 3                  1.     Migrant Justice Improves Working Conditions Through the Milk with
                           Dignity Program.
 4
            24.     One example of Migrant Justice's visible, groundbreaking advocacy is its high-profile
 5
     Milk with Dignity Program, a farmworker-driven initiative to improve conditions in dairy supply
 6
     chains. The Program rests on a participatory model in which workers, farmers, consumers, and retail
 7
     corporations align values and work together to build a fair food system.
 8
            25.     Starting in 2014, Migrant Justice focused its campaign for the Milk with Dignity
 9
     Program on ice cream manufacturer Ben & Jerry's, an influential company headquartered within
10
     Vermont that purchases vast amounts of milk from the local dairy-farming community.
11
            26.     In June 2015, after persistent public advocacy by Migrant Justice, Ben & Jerry's
12
     signed a written commitment to negotiate an agreement with Migrant Justice to join the Milk with
13
     Dignity Program. The New York Times heralded the commitment as an "innovative movement[] ...
14
     to improve wages and working conditions." The Christian Science Monitor_ called the June 2015
15
     agreement "an important agreement with Ben & Jerry's to recognize the fundamental human rights of
16
     migrant workers in dairy supply chains."
17
            27.     After signing the commitment, however, Ben & Jerry's delayed in signing a formal
18
     agreement to join the Program. Migrant Justice and its members then engaged in more than two
19
     years of advocacy, community organizing, and escalating public protest to win allies and increase
20
     pressure on Ben & Jerry's. Finally, on October 3, 2017, Ben & Jerry's signed a formal agreement to
21
     join Milk with Dignity.
22
                    2.      Migrant Justice's First Amendment Activity Frustrates ICE's Agenda by
23                          Protecting Migrant Workers from Deportation.
24          28.     In 2011, Migrant Justice launched one of its first campaigns against an ICE policy.

25   Migrant Justice opposed ICE's Secure Communities Program, under which local law enforcement

26   shared fingerprints with ICE.

27          29.     On August 18, 2011, Migrant Justice member Danilo Lopez hand-delivered a petition

28   signed by more than 70 farmworkers to then-Governor Peter Shumlin. The petition asked Governor



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 1   Shumlin to publicly "say no" to Secure Communities because it "threatens our security," "promotes

2    racial discrimination," and lacks transparency.

3           30.     Three weeks later, Vermont state police stopped a car for speeding in which Lopez

 4   was a passenger. Although he was not the driver and state police are not responsible for enforcing

 5   immigration law, state police handed Lopez over to U.S. Border Patrol.

 6          31.     In response to Lopez's arrest, on September 13, 2011, Migrant Justice organized its

 7   first protest against ICE for a member's detention. Migrant Justice alleged that the incident violated

 8   the state police's existing bias-free policing policy and pushed the state government to adopt an

 9   expanded bias-free policing policy. Governor Shumlin and the Vermont Human Rights Commission

10   opened separate investigations into Lopez's arrest.

11          32.     Migrant Justice continued campaigning to prevent Lopez's deportation, urging ICE to

12   grant a stay of removal. Migrant Justice enlisted support from Vermont's entire Congressional

13   delegation-Senior United States Senator Patrick Leahy and Junior United States Senator Bernard

14   Sanders and United States Representative Peter Welch-as well as Governor Shumlin and Burlington

15   Mayor Miro Weinberger, all of whom wrote letters urging ICE to exercise its prosecutorial discretion

16   in Lopez's favor. ICE granted Lopez a stay of removal.

17          33.     In November 2011, Governor Shumlin announced that the Vermont State Police had

18   adopted an expanded bias-free policing policy aimed at preventing discrimination on the basis of

19   race, ethnicity, or immigration status. The expanded policy limited state involvement in federal

20   immigration enforcement by restricting when officers could inquire about immigration status.

21          34.     Migrant Justice continued to campaign for improved bias-free policing policies. In

22   2012, the Vermont legislature enacted a new law requiring all law enforcement agencies in Vermont

23   to adopt bias-free policing policies. 2012 Acts & Resolves No. 134, § 2 (codified at 20 V.S.A.

24   § 2366 (2012)).

25          35.     In 2014, Vermont passed Act 193, a law mandating collection of roadside stop data

26   and establishing a process and timeline for the Vermont Criminal Justice Training Council to adopt a

27   model Fair and Impartial Policing policy. 2014 Vt. Acts & Resolves No. 193, § 3 (codified at 20

28   V.S.A. § 2366 (2014)). The legislation explicitly directed the Criminal Justice Training Council to



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 I   "consult[] with stakeholders, including the Vermont League of Cities and Towns, the Vermont

 2   Human Rights Commission, and Migrant Justice."

 3              36.   In February 2015, Migrant Justice assisted a member, Lorenzo Alcudia Gamas, to file

 4   a complaint with the Vermont Human Rights Commission against the Grand Isle County Sheriffs

 5   Department. A deputy had stopped a car driven by a Migrant Justice volunteer in which Alcudia

 6   Gamas rode in the passenger seat, on his way to a community meeting as a representative of Migrant

 7   Justice.

 8              37.   The deputy issued the Caucasian driver a warning for speeding but turned Alcudia

 9   Gamas over to U.S. Border Patrol. The Vermont Human Rights Commission concluded that there

10   were reasonable grounds to believe that the Sheriffs Department had discriminated against Alcudia

11   Gamas on the basis of his national origin and race. In April 2016, the Sheriffs Department settled

12   with Alcudia Gamas and the Human Rights Commission for nearly $30,000.

13              38.   In 2016, Vermont passed Act 14 7, a law establishing deadlines for the completion of

14   fair and impartial policing training and in-service training. 2016 Vt. Acts & Resolves No. 147, § 26

15   (codified at 20 V.S.A. 2366 (2016)). Migrant Justice had advocated for the passage of this law.

16              39.   Migrant Justice continues advocating and organizing to promote fair and impartial

17   policing policies to this day.

18              40.   Migrant Justice also actively campaigns to prevent the deportation of members

19   arrested by federal immigration authorities, by organizing public support to lobby immigration

20   officials and submit support letters in immigration court, engaging in social media campaigns, and

21   serving as a resource to connect community members to legal help. Migrant Justice has publicly

22   campaigned to stop the deportation of eleven members.

23                    3.     Migrant Justice's Activism Around Driver Privilege Cards Placed and
                             Continues to Place ICE and the Vermont DMV in the Public Spotlight.
24
                41.   Beginning in 2012, Migrant Justice and its members embarked on a long and
25
     ultimately successful legislative campaign to create the Vermont "Driver Privilege Card" ("DPC"),
26
     which permits Vermont residents to drive within the state, regardless of immigration status. Plaintiff
27
     Balcazar Sanchez and Migrant Justice member Danilo Lopez, described by the statewide news
28
     website VTDigger as a "frequent presence" at the Vermont Statehouse, led the campaign.


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 1          42.     In 2013, after more than a year of campaigning, lobbying, and organizing by Migrant

 2   Justice members, the Vermont legislature passed the DPC legislation. It became effective on January

 3   1, 2014. 2013 Acts & Resolves No. 74 (codified at 23 V.S.A. § 603).

 4          43.     The DPC provided a solution for migrant workers who did not have the documentation

 5   required by the federal REAL ID act to obtain driver's licenses, yet who needed to drive in order to

 6   work and meet basic needs within a rural state. The DPC also proved popular for many other

 7   Vermont residents who needed to drive within the state but did not want or could not obtain a REAL

 8   ID-compliant driver's license.

 9          44.     More than 40,000 Vermont residents obtained a DPC in a little over a year.

10          45.     In early 2014, the DMV began sending personally identifying information obtained

11   from DPC applications to ICE and scheduling appointments to facilitate ICE arrests.

12          46.     As one of the only community organizations in the State working with Latinos,

13   Migrant Justice quickly became the point-organization to assist individuals struggling to access

14   DPCs. Migrant Justice advocated in the press, with elected officials, and with the agency itself to

15   investigate and reform practices, and publicly questioned the DMV's actions, particularly with regard

16   to state-federal law enforcement cooperation.

17          47.     From 2016 through 2018, the ACLU of Vermont, in coordination with Migrant

18   Justice, filed a series of public records requests seeking information about the implementation of the

19   DPC program. The Vermont press reported extensively on the information obtained and in April

20   2017, the Vermont Senate held hearings about the DMV's information-sharing with ICE. Migrant

21   Justice became well known to DMV and ICE officials because of its public role. Migrant Justice's

22   advocacy relating to DPCs continues to the present day.

23          B.      ICE Surveils, Infiltrates, Engages in Disinformation, Arrests, and Detains
24                  Plaintiffs and Others to Retaliate and Chill Their First Amendment Rights.
            48.     Beginning in at least 2014, ICE has targeted, surveilled, and spread disinformation
25
     about Migrant Justice, its staff, and its leaders. ICE has also arrested and detained no fewer than
26
     twenty active Migrant Justice members and leaders.
27

28



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 1          49.     The majority of these arrests did not fit within ICE's internal priorities for

 2   enforcement. Rather, they occurred contemporaneously with and in response to the increasing

 3   visibility and activism of Migrant Justice in challenging misconduct by the Vermont OMV and

 4   abusive ICE practices in Latino and worker communities.

 5          50.     While these Migrant Justice members were detained, ICE interrogated them without

 6   counsel; interrogated them about circumstances clearly beyond ICE's jurisdiction; ridiculed them;

 7   and threatened them with indefinite detention.

 8                  1.      ICE Arrests Plaintiff Jose Victor Garcia Diaz and Specifically Notes His
                            Affiliation with Migrant Justice on His Arrest Documents.
 9
            51.     On April 18, 2016, a OHS/ICE Deportation Officer requested Plaintiff Jose Victor
10
     Garcia Diaz's photograph and DPC application from the Vermont OMV. A OMV Enforcement
11
     Division Administrative Supervisor complied on April 19, 2016.
12
            52.     On April 20, 2016, Plaintiff Garcia Diaz returned to Vermont from Los Angeles where
13
     he had represented Migrant Justice at a well-publicized conference for the Food Chain Workers
14
     Alliance, a national coalition of labor rights organizations. Plaintiff Garcia Diaz posted on Facebook
15
     about his traveling to the conference and his anticipated participation in a cultural event the next day.
16
            53.     On April 21, 2016, ICE agents arrested Plaintiff Garcia Diaz in a parking lot outside of
17
     the cultural event in Stowe, Vermont. Plaintiff Garcia Diaz was with Plaintiffs Palacios Rodriguez
18
     and Balcazar Sanchez at the time of his arrest.
19
            54.     In paperwork documenting the arrest, the "Report of Deportable/lnadmissible Alien,"
20
     known as the Form 1-213, ICE Agent Brady Goff noted that Plaintiff Garcia Diaz was a "member and
21
     associate of Migrant Justice." An internal ICE report issued on April 21, 2016 noted that Plaintiff
22
     Garcia Diaz is a "well known and prominent member of Migrant Justice." ICE described Migrant
23
     Justice as "a non-governmental organization in Vermont that advocates for the rights of migrant
24
     farmworkers and other aliens. The organization was instrumental in the VT legislature's passing of
25
     the law that grants driving privileges to undocumented aliens. Migrant Justice is vocal and public in
26
     their opposition to immigration enforcement."
27
            55.     During his interrogation, ICE asked Plaintiff Garcia Diaz about an identification card
28
     he possessed from the Coalition of Immokalee Workers, a prominent activist farmworker group in


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 1   Florida. ICE seized the card. The ICE agents knew of the Coalition oflmmokalee Workers and

 2   commented on the organization in front of Plaintiff Garcia Diaz. ICE also seized his DPC. ICE has

 3   not returned either piece of documentation.

 4          56.     After Plaintiff Garcia Diaz's arrest, Migrant Justice launched a series ofrallies to

 5   support him. On April 22, 2016, Migrant Justice members assembled in Senator Leahy's office in

 6   Burlington, Vermont, to protest ICE's conduct. On May 1, 2016, Migrant Justice organized a rally in

 7   Montpelier attended by hundreds of individuals. As a result of Migrant Justice's petitioning, Senator

 8   Leahy' s office stated its intent to intervene on Plaintiff Garcia Diaz's behalf and lobbied against ICE

 9   practices in Washington, D.C. Senator Sanders followed shortly thereafter and also submitted a letter

10   to ICE supporting Plaintiff Garcia Diaz.

11                  2.      ICE Arrests Migrant Justice Member Alberto Sanchez Perez and Spreads
                            Disinformation about Migrant Justice Staff to Sow Distrust.
12
            57.     On August 24, 2016, ICE arrested Migrant Justice member Alberto Sanchez Perez.
13
     Sanchez Perez had no criminal record and did not qualify as a DHS enforcement priority under the
14
     November 20, 2014 guidelines. ICE officers targeted Sanchez Perez and falsely claimed that they
15
     needed to investigate the causes of a car accident in which he was a passenger. Although they had no
16
     jurisdiction over the car accident, the ICE officers interrogated Sanchez Perez for several hours, held
17
     him overnight, prevented him from contacting an attorney, and made multiple references to his
18
     perceived sexual orientation.
19
            58.     ICE officers told Sanchez Perez that they had been discussing the accident with
20
     Migrant Justice leader Marita Canedo and had asked Canedo to bring Sanchez Perez to the ICE
21
     office, and that they would not have arrested Sanchez Perez if Canedo had given him a message that
22
     they wanted to speak with him.
23
                    3.      ICE Arrests Migrant Justice Member Miguel Alcudia Gamas and Warns
24                          Him that "Kike" Is "Next."
25          59.     ICE next arrested and detained Migrant Justice member Miguel Alcudia Gamas.

26   Alcudia Gamas has no criminal record and did not qualify as a OHS enforcement priority under the

27   November 20, 2014 guidelines.

28



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 1           60.    Alcudia Gamas is the cousin of Lorenzo Alcudia Gamas, whose involvement in

 2   Migrant Justice's advocacy for bias-free policing is discussed above.

 3           61.    On September 16, 2016, a DHS/ICE Deportation Officer requested from the Vermont

 4   DMV Alcudia Gamas's photograph, his DPC application, and a list of vehicles registered in his

 5   name.

 6           62.    A DMV employee complied, volunteered that Alcudia Gamas's license plate "was

 7   recently issued," and asked if the DHS/ICE Deportation Officer "want[ed] the paperwork for that."

 8           63.    An ICE Important Federal Interest Memorandum ("IFI Memo") dated September 19,

 9   2016, states that "continued prosecution of [Alcudia Gamas] would serve an important federal

10   interest" even though, according to the cover email accompanying the IFI Memo, Alcudia Gamas

11   was "not currently an ICE Enforcement Priority." The IFI Memo does not specify the reasons for

12   this determination, which was made as a matter of "prosecutorial discretion."

13           64.    ICE surveilled Alcudia Gamas and arrested him on September 22, 2016. ICE

14   identified Alcudia Gamas by his license plate and DPC. During the arrest, an ICE agent asked

15   Alcudia Gamas if he was related to Lorenzo Alcudia Gamas. Alcudia Gamas replied that they were

16   cousins.

17           65.    The ICE agent also asked Alcudia Gamas ifhe knew Migrant Justice leader-member

18   "Kike," referring to Plaintiff Balcazar Sanchez by his nickname. When Alcudia Gamas replied that

19   he did, the ICE agent stated that Plaintiff Balcazar Sanchez was "next." Alcudia Gamas took this to

20   mean that Plaintiff Balcazar Sanchez would be the next Migrant Justice leader to be arrested and

21   detained.

22           66.    Under the section titled "Recommendation/Disposition" on Alcudia Gamas's Form 1-

23   213, an ICE officer noted that a "representative of the advocacy group Migrant Justice" called the

24   ICE ERO office on September 22, 2016.

25           67.    On September 22, 2016, Migrant Justice organized a protest at the ICE facility at St.

26   Albans, Vermont in response to Alcudia Gamas's arrest. Migrant Justice also secured a letter from

27   Senator Sanders to support Alcudia Gamas's release from detention on bond. Internal ICE

28



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 1   documents reflect that ICE employees expended significant effort responding to Congressional and

 2   media inquiries generated by Migrant Justice's advocacy efforts.

 3                  4.       ICE Targets Additional Migrant Justice Members.
 4          68.     On February 2, 2017, ICE arrested Migrant Justice member Arturo Ruiz Rodriguez

 5   outside of his home. Ruiz Rodriguez has no criminal record and did not qualify as a DHS

 6   enforcement priority under prevailing enforcement guidelines.

 7          69.     During the arrest, Ruiz Rodriguez informed ICE that his minor son, a seven-year-old

 8   U.S. citizen, was inside. Ruiz Rodriguez asked ICE if he could make arrangements for child care

 9   while he was detained. An ICE agent refused this request and added that if Ruiz Rodriguez entered

IO   his home, ICE would arrest and detain his seven-year-old son as well.

11          70.     The ICE agent falsely informed Ruiz Rodriguez that he had received his name and

12   address from Migrant Justice leader Will Lambek.

13          71.     On March 15, 2017, ICE arrested Migrant Justice member Cesar Alexis Carrillo

14   Sanchez. Carrillo Sanchez's I-213 notes that ICE relied for the arrest upon information obtained

15   from his "Vermont DMV license application."

16                  5.       ICE Enlists an Informant to Surveil and Target Plaintiffs Zolly Palacios
                             Rodriguez and Jose Enrique Balcazar Sanchez.
17
            72.     By February and March 2017, ICE had already begun a full-scale campaign to
18
     infiltrate and debilitate Migrant Justice, employing means far exceeding legitimate immigration
19
     enforcement practice.
20
            73.     ICE enlisted at least one civilian informant to infiltrate Migrant Justice, which it used
21
     to effect the arrests of two prominent Migrant Justice member-leaders, Plaintiffs Palacios Rodriguez
22
     and Balcazar Sanchez, just days after the arrest of Migrant Justice member Carrillo Sanchez.
23
            74.     Neither Plaintiff Palacio Rodriguez nor Balcazar Sanchez have criminal records, nor
24
     did they qualify as DHS enforcement priorities. Internal documents confirm that ICE was aware it
25
     had no apparent legitimate law enforcement reason to arrest and detain Plaintiffs Palacios Rodriguez
26
     and Balcazar Sanchez.
27
            75.     According to text messages sent between ICE Agent John Trantum and the informant,
28
     ICE used the informant to obtain private information to arrest, detain, and retaliate against Plaintiffs


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 1   and their colleagues because of their activism. Messages sent between the informant and her trusted

 2   acquaintance, Jane Doe, 1 also a civilian, confirm this relationship. According to the informant,
 3   "anytime [Agent Trantum] makes an arrest he asks me [for information about the subject.]"

 4            76.       Jane Doe told Migrant Justice leaders that ICE knew that to "strike a blow" against

 5   Migrant Justice they needed to target Plaintiff Balcazar Sanchez because he was "very outspoken."

 6            77.       The informant's text messages reveal that she further ingratiated herself with the

 7   organization in order to establish membership and gain access to non-public meetings and private

 8   conversations. For instance, the informant attended a number of Migrant Justice events, including

 9   but not limited to a February 25, 2017 Farmworker Assembly that was not open to the public. The

10   informant's presence intruded upon Plaintiffs' privacy.

11            78.       On March 1, 2017, ICE Agent Trantum asked the civilian informant to target a

12   specific Migrant Justice member. The informant sent Jane Doe a photograph of at least seven
13   individuals wearing Migrant Justice T-shirts and asked her, "Hey you know this guy at all?" Internal

14   ICE emails also confirm that ICE surveilled targets based on photographs of individuals "wearing [ ]
15   Migrant Justice Tee-shirt[s] [sic]."

16             79.      In another message on March 4, 2017, the informant discussed with Jane Doe ICE's

17   plan to apprehend Plaintiff Palacios Rodriguez. The informant confided in Jane Doe that ICE had

18   been surveilling Plaintiff Palacios Rodriguez's house for many weeks and had even seen Migrant
19   Justice leader Marita Canedo's car at her residence.
20            80.       According to Plaintiff Palacios Rodriguez's Form 1-213 documenting her arrest, an
21   ICE officer-for no stated reason-ran a search for her biographical information in October 2016.

22   According to a separate internal memorandum, the investigating ICE officer noted that he was

23   conducting a Facebook search. The Form 1-213 states that ICE received information "from a
24   concerned citizen," whom Plaintiffs believe to be the informant.
25
26
27
28    1
          "Jane Doe" is used to protect confidentiality.



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             81.    Internal ICE emails between Homeland Security Investigations ("HSI") Burlington

 2   and Enforcement and Removal Operations ("ERO") Boston reflect that Plaintiff Palacios Rodriguez

 3   was a target of a planned arrest in March 2017.

 4           82.    Although Plaintiff Palacios Rodriguez was the ostensible target, ICE's surveillance led

 5   ICE agents to believe they could arrest Plaintiff Balcazar Sanchez, too. On March 13, 2017, ICE

 6   drafted a "Field Operations Worksheet" regarding Plaintiff Palacios Rodriguez. Under an entry for

 7   "Spouse/Children," the operations worksheet states that Plaintiff Palacios Rodriguez's "Boyfriend Is

 8   Enrique Balcazar." Internal ICE documents note that "BALCAZAR will most likely be with

 9   [Palacios] at the time of arrest as they are together most of the time."

10           83.    On March 8, 2017, a DHS/ICE Deportation Officer emailed the DMV to request

11   Plaintiff Balcazar Sanchez's license plate information. A DMV employee complied the next day.

12           84.    On March 13, 2017, in response to a request for an "Agency Assist," a DMV official

13   transmitted Balcazar Sanchez's application for a Driver Privilege Card to ICE Agent Goff. In the

14   margins of the application, a DMV official handwrote the words "UNDOCUMENTED" and

15   "PRIVILEGE CARD." Balcazar Sanchez's 1-213 states that ICE obtained a number of documents

16   from the DMV: in addition to the standard DMV document requested, the DMV sent a "biographic

17   page" and copies of identity documents. An internal DHS and ICE "Field Operations Worksheet"

18   reflects that the DMV also sent Plaintiff Balcazar Sanchez's license plate number and car model.

19           85.     On March 17, 2017, at about 1:15 a.m., Plaintiff Palacios Rodriguez received a

20   notification from Microsoft that an unauthorized individual had attempted to gain access to her email

21   account. Plaintiff Palacios Rodriguez was not aware of her account previously being hacked and this

22   was the first time that she received this type of notification.
23           86.    Later that day, after driving from a meeting at Migrant Justice with Plaintiff Palacios
24   Rodriguez in the front passenger seat, Plaintiff Balcazar Sanchez observed a white car following

25   them from the meeting. According to an internal document, the arresting ICE officer recognized him
26   from Plaintiff Garcia Diaz's arrest, and was able to identify him even though he was driving directly
27   behind him.
28



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 1           87.    Three unmarked cars boxed in Plaintiffs Palacios Rodriquez and Balcazar Sanchez in

 2   a very busy intersection of Route 7 and Flynn A venue. Plainclothes officers exited their vehicles, did

 3   not identify themselves, and ordered Plaintiff Balcazar Sanchez to put the car in park, put his hands

 4   on the wheel, and get out of the car. Agent Goff, with his hand on his gun, seized Plaintiff Palacios

 5   Rodriguez's phone from out of her hand, unbuckled her seatbelt, and physically removed her from

 6   the vehicle. The officers screamed at Plaintiff Balcazar Sanchez, humiliated him, and caused a

 7   demeaning public spectacle. Bystanders, including children, observed the spectacle, and several

 8   individuals inquired about the nature of the arrest.

 9           88.    Plaintiff Balcazar Sanchez asked the officers to identify themselves, why they were

10   detaining them, and if they had an arrest warrant. The officers did not respond. Though ICE officers

11   handcuffed him by the wrists and later by the ankles, ICE never told Plaintiff Balcazar Sanchez that

12   he was under arrest, or why.

13           89.    Agent Goff referred to Plaintiff Balcazar Sanchez repeatedly by his nickname, "Kike,"

14   and other ICE agents referred to Plaintiff Palacios Rodriguez as "Vicki," a nickname for her middle

15   name that she uses on Facebook.

16           90.    ICE agents made repeated references to Plaintiff Balcazar Sanchez's and Plaintiff

17   Palacios Rodriguez's affiliation with Migrant Justice. ICE explicitly forbade Plaintiff Balcazar

18   Sanchez from contacting Migrant Justice during his processing and detention. ICE agents threatened

19   him that if he did call Migrant Justice, "it will be worse for you."

20           91.    Agent Goff forbade Plaintiff Palacios Rodriguez from calling Migrant Justice leaders

21   Will Lambek or Brendan O'Neill (referring to them by name) and forbade her from disclosing her

22   location.

23           92.    Later, when Plaintiff Balcazar Sanchez arrived at a detention facility in Swanton,

24   Vermont, Jeff Curtis, ICE Supervising Deportation and Detention Officer, told the facility that he had

25   brought them "a famous person," in reference to Plaintiff Balcazar Sanchez's activism.

26           93.    An ICE officer also attempted to coax Plaintiff Palacios Rodriguez into signing an

27   order of voluntary departure by threatening falsely that she would be detained for two months without

28   bond.



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            94.     ICE considered Plaintiffs Balcazar Sanchez and Palacios Rodriguez "high-profile

 2   cases." On March 21, 2017, four days after Plaintiff Balcazar Sanchez's and Palacios Rodriguez's

 3   arrests, in response to a newspaper article about Migrant Justice, an ICE employee asked Timothy

 4   Robbins, Deputy Assistant Director of ICE/ERO, Daniel Ragsdale, then ICE Deputy Director, and

 5   Defendant Matthew Albence, Executive Associate Director of ICE/ERO, for "executive summaries"

 6   on Plaintiff Balcazar Sanchez, Migrant Justice member Alex Carrillo, and Migrant Justice leader Will

 7   Lambek.

 8          95.     ICE had no basis to target Plaintiffs Balcazar Sanchez or Palacios Rodriguez to protect

 9   public safety or comply with ICE's stated priorities. An internal email thread on March 30, 2017,

10   reflects ICE's desired priority to "push forward on subjects with a criminal/public safety nexus."

11   Neither Plaintiff Balcazar Sanchez nor Plaintiff Palacios Rodriguez had criminal records, as reflected

12   in both of their Form I-213s. A separate OHS document lists Plaintiff Palacios Rodriguez's "risk to

13   public safety" as "low."

14          96.     Just a few weeks prior to Plaintiff Balcazar Sanchez's arrest, Vermont Attorney

15   General T.J. Donovan had appointed him to his Immigration Task Force.

16          97.     In late March and April 2017, in response to the arrests of Plaintiffs Balcazar Sanchez

17   and Palacios Rodriguez, Migrant Justice organized protests to advocate for their release. Dozens

18   picketed around the St. Albans ICE office; hundreds of allies gathered in downtown Burlington,

19   Montpelier, and Brattleboro; and a petition to release the individuals gathered thousands of
20   signatures.

21          98.     The protests generated significant media coverage. Vermont United States Senators

22   Leahy and Sanders, Congressman Welch, and Vermont Senator Pro Tempore Tim Ashe voiced their
23   concern about ICE tactics and policies.

24          99.     On March 27, 2017, the date of Plaintiffs Balcazar Sanchez and Palacios Rodriguez's

25   bond hearing, Migrant Justice members organized a protest attended by hundreds of individuals
26   outside of the Boston Immigration Court.
27
28



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 1          100.     Internal ICE documents reflect that ICE knew of the locations and times of the

 2   protests before they occurred. ICE employees shared with one another a number of Migrant Justice

 3   Facebook photos publicizing the event.

 4          101.     Senator Sanders had also submitted letters to the Immigration Court with 10,000

 5   signatures of support, noting that it was "unclear why these two individuals would possibly be

 6   considered enforcement priorities[.]"

 7                   6.     ICE Continues to Hold and Prosecute Two Migrant Justice Members
                            After Learning About Their Affiliation with Migrant Justice.
 8
            102.     On June 17, 2017, Customs and Border Protection ("CBP") pulled over and arrested
 9
     Migrant Justice members Esau Peche Ventura and Yesenia Hernandez Ramos. The arrest occurred
10
     on the same day that Peche Ventura and Hernandez Ramos had marched thirteen miles to show their
11
     support for the rights of workers in Migrant Justice's march from Montpelier to the Ben & Jerry's
12
     factory in Waterbury, Vermont, in support of the campaign for the Milk with Dignity Program.
13
            103.     CBP agents pulled over Peche Ventura and Hernandez Ramos's vehicle without
14
     explicit or evident cause. CBP arrested Peche Ventura and Hernandez Ramos and searched their
15
     vehicle. CBP transferred Peche Ventura and Hernandez Ramos to ICE custody. ICE held them for
16
     several days.
17
            104.     By the morning of June 19, 2017, internal ICE documents reveal that ICE understood
18
     that it lacked sufficient cause to continue detaining Peche Ventura and Hernandez Ramos, stating in
19
     an internal email, "I have asked [redacted] to reach out to BP to see if there is anything they can do to
20
     give us legally sufficient cases so we can move forward." Even though ICE knew that it lacked a
21
     legally sufficient reason to continue to hold them, lCE did not release them but instead requested the
22
     DMV records of Peche Ventura and CBP visited their place of employment in search of evidence to
23
     support their continued detention.
24
            105.     Over the course of the day on June 19, 2017, the OMV provided ICE with Peche
25
     Ventura's DPC application along with identifying vehicular information.
26
            106.     Also on June 19, 2017, a delegation of Migrant Justice members and allies protested at
27
     the ICE office in St. Albans, Vermont. Migrant Justice members demanded that ICE explain why it
28
     had arrested individuals with no criminal records.


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             107.   During the protest, ICE agents recognized and identified several members by name.

 2   One ICE agent specifically pointed to and threatened some of the Individual Plaintiffs with detention.

 3   The agent called out Plaintiffs by name-"Kike [Balcazar], Zully [Palacios], [and] Victor

 4   [Garcia],"-and stated "you are putting your bond at risk." This statement was intended to chill

 5   Plaintiffs' speech.

 6           108.   ICE officers also accessed Migrant Justice social media pages to track and monitor

 7   advocacy campaigns on Peche Ventura's and Hernandez Ramos's behalf. ICE identified Migrant

 8   Justice's protest in St. Albans as an "ICE Significant Incident."

 9                   7.     ICE Targets Another Migrant Justice Member, Making Explicit Note of
                            His Affiliation with Migrant Justice as well as Migrant Justice's Activities
10
             109.    On October 23, 2017, ICE arrested Migrant Justice leader and long-time member Jose
11
     Cruz Balcazar Ventura in Addison County, Vermont.
12
             110.   Although ICE did not arrest Balcazar Ventura until October 2017 and claimed that he
13
     came to their attention after a state criminal charge in the Fall of 2017, ICE had been targeting
14
     Balcazar Ventura and knew of his involvement with Migrant Justice for more than 17 months. For
15
     example, on May 20, 2016, an ICE deportation officer circulated a Federal Interest Memo for
16
     Balcazar Ventura seeking approval to target him for arrest. In that same email, the deportation
17
     officer directs, "Please let [redacted] know that, if approved, we will proceed as we did before,
18
     following all policies and procedures to the letter. We will also stay away from any 'cultural events'
19
     this time," a clear reference to Plaintiff Garcia Diaz's arrest at a Mexican cultural event on April 21,
20
     2016.
21
             111.   ICE continued to reference Balcazar Ventura's affiliation with Migrant Justice in its
22
     subsequent tracking and enforcement activities against him. On July 19, 2016, acknowledging that
23
     Balcazar Ventura had no known criminal history and that the date and manner of his entry to the U.S.
24
     was "[u]nknown," ICE decided nonetheless to deem him a 2(c) enforcement priority as a "recent
25

26

27

28



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                2
 1   entrant." On an email exchange dated August 23, 2017, an ICE agent, in referencing his

 2   apprehension, noted that "BALCAZAR-Ventura ... is associated with Migrant Justice."

 3                    8.      ICE Selectively Revealed that It Was Surveilling Migrant Justice in Order
                              to Intimidate and Chill Its Activities.
 4
               112.   In addition to the arrests, ICE selectively revealed information that it was surveilling
 5
     Migrant Justice in order to intimidate and chill Plaintiffs' protected activities.
 6
               113.   For example, Migrant Justice assemblies are not open to the general public. The
 7
     organization shares the locations, dates, and times of its meetings only with members and known
 8
     supporters. However, in February 2017, a Migrant Justice supporter and community leader called the
 9
     ICE St. Albans office to ask questions about ICE's policies and practices relating to the detention of
10
     children. Instead of answering her questions, the ICE Supervising Deportation and Detention Officer
11
     asked the Migrant Justice ally whether she was asking the questions in preparation for the Migrant
12
     Justice meeting, which he referenced by date and stated the exact location of the assembly-neither
13
     of which had been made public.
14
               114.   ICE arrests of Migrant Justice members continue, and ICE's surveillance of Migrant
15
     Justice also likely continues.
16
               115.   As recently as October 25, 2018, CBP arrested Migrant Justice member Eli Calvo
17
     Cruz. ICE then ordered Calvo Cruz detained on a $14,000 bond, even though an immigration judge
18
     in an earlier proceeding had set Calvo Cruz's bond at $4,500 and had administratively closed his
19
     immigration case.
20
               116.   Migrant Justice organized a public campaign in support of Calvo Cruz's bond hearing,
21
     collecting nearly 1,300 signatures and writing letters of support. On November 9, 2018, an
22
     immigration judge released Calvo Cruz on $1,500 bond.
23

24

25   2
         Priority 2(c) comes from the Priorities Memo released by DHS Secretary Jeh Johnson on Nov. 20,
           2014. See Memorandum from Secretary of DHS Jeh Johnson, Policies for the Apprehension,
26         Detention and Removal of Undocumented Immigrants (Nov. 24, 2014), available at
           https://www.dhs.gov/sites/default/files/publications/14_ 1120_ memo_prosecutorial_discretion.pdf
27         . Priority 2(c) refers to: "aliens apprehended anywhere in the United States after unlawfully
           entering or re-entering the United States and who cannot establish to the satisfaction of an
28         immigration officer that they have been physically present in the United States continuously since
           January 1, 2014."


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 1                  9.      Defendants Have Significantly Chilled the Speech of Plaintiffs, Caused
                            Lasting Harm, and Forced Migrant Justice to Divert Resources.
2
            117.    Migrant Justice's members-Plaintiff and non-Plaintiff members alike-have an
3
     immediate fear of reprisal and share a ubiquitous sentiment of being watched. Migrant Justice is
4
     concerned that, as certain private meetings have been surveilled, public protests and marches in the
 5
     future will be as well. Migrant Justice has had to modify and limit certain programming. Migrant
6
     Justice has forgone certain opportunities to advocate on behalf of its members and to advocate for
 7
     economic and workplace rights. Defendants' conduct has hampered Migrant Justice's ability to reach
 8
     a broad and vulnerable audience and has caused a significant chill of free speech.
 9
            118.    Defendants' unlawful conduct has taken a significant toll on Migrant Justice and its
10
     membership. The effects of Defendants' conduct manifest in four primary ways: (1) Plaintiffs and
11
     other non-Plaintiff members are fearful of further retaliation and now proceed more cautiously,
12
     including forgoing certain speaking opportunities for fear ofreprisal; (2) as a result, Migrant Justice
13
     is less effective, and is able to draw fewer attendees, less support, and lower enthusiasm; (3) Migrant
14
     Justice has been forced to shift its efforts from advocacy focused on advancing workplace rights to
15
     advocacy focused on defending against retaliatory immigration enforcement; and ( 4) Defendants
16
     have forced Migrant Justice to outlay significant time, resources, and finances as a result.
17
             119.   Defendants' unlawful conduct continues to exert a substantial chilling effect upon the
18
     organization and its members and continues to undermine Migrant Justice's advocacy. Given ICE's
19
     extensive surveillance and infiltration, Plaintiffs expect ongoing harassment and targeting of their
20
     First Amendment activities. As a result, Migrant Justice has had to take extensive and costly
21
     precautions, limiting its overall reach to the community. For example, when the organization hosts
22
     meetings, it must implement a watch system around the state to prevent ICE from following and
23
     surveilling members' vehicles.
24
             120.   Migrant Justice leader Marita Canedo has limited her interaction with other members
25
     since she learned that ICE was surveilling her car, discussed hifra Jr 130: she no longer provides
26
     members transportation, which significantly hinders her ability to connect with workers; she fears
27
     that ICE will target any member with whom she associates and avoids major roads when driving.
28



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 1              121.   Migrant Justice believes that the informant is still infiltrating its membership to this

2    very day. In the weeks before this complaint was filed, the informant attended a Migrant Justice

3    event and began recording video while she was there, despite explicit requests to attendees not to

4    record video or post to social media. Moreover, internal documents from the DMV and ICE indicate

5    that the DMV is still sending ICE sensitive information to facilitate ICE's enforcement of civil

6    immigration law.

 7              122.   Each Plaintiff expresses concern and fear of further retaliation, including surveillance,

 8   harassment, and summary arrest and detention. Each Plaintiff asserts that though he or she remains a

 9   member of Migrant Justice and continues to engage in political speech, he or she proceeds more

10   anxiously and fearfully than before Defendants' unlawful conduct and that his or her speech has been

11   chilled.

12              123.   This too is true of many non-Plaintiff Migrant Justice members. Additionally, many

13   migrant workers express hesitation to join Migrant Justice-initiated protests, rallies, or marches

14   because they fear they will be detained for organizing and associating with the organization.

15              124.   As a result of Defendants' unlawful surveillance, harassment, arrest, and detention,

16   Plaintiff Garcia Diaz suffers from significant anxiety, sadness, and difficulty concentrating. He

17   believes that Defendants continue to track his movements and surveil him during meetings, protests,

18   and community events. He worries every time he participates in Migrant Justice activities. His

19   speech and associational rights have been chilled.

20              125.   As a result of Defendants' unlawful surveillance, harassment, arrest, and detention,

21   Plaintiff Balcazar Sanchez suffers from significant anxiety, difficulty sleeping and concentrating, and

22   a sense of dread and paranoia that causes him to alert his friends and family as to his whereabouts at

23   all times because of fear. He believes that Defendants continue to track his movements and surveil

24   him during meetings, protests, and community events. He also believes ICE is monitoring his social

25   media profiles. His speech and associational rights have been chilled.
26              126.   As a result of Defendants' unlawful surveillance, harassment, arrest, and detention,

27   Plaintiff Palacios Rodriguez lives in a constant state of fear that ICE will arrest her and send her to
28   jail at any moment. She suffers from significant anxiety, lack of sleep, lack of appetite, nightmares,



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1    and a sense of despair and sadness that causes her to burst into tears without provocation. She

2    believes that Defendants continue to track her movements and surveil her during meetings, protests,

3    and community events. She also believes Defendants may be monitoring her private electronic

4    communications, as well as her social media profiles. Her speech and associational rights have been

5    chilled.
6               127.   By decreasing willingness of Vermont residents to risk association with the

 7   organization's viewpoints and advocacy efforts, Migrant Justice's ability to effectuate its labor

 8   organizing efforts has been diminished.

 9              128.   Defendants' conduct has significantly deterred members' participation and attendance

10   at Migrant Justice events. On average, assembly participation has dropped by approximately one-

11   half. Members have reported fearing retaliation by Defendants and citing the ongoing ICE actions

12   against Plaintiffs specifically.

13              129.   The closer in time to a recent arrest or detention an assembly or event was planned, the

14   lower the attendance. For example, only ten Migrant Justice members attended the March 23, 2017,

15   assembly in Morrisville, Vermont, held six days after Plaintiffs Balcazar Sanchez's and Palacios

16   Rodriguez's arrests, although approximately twenty-five had originally stated they intended to

17   participate. At least seven Migrant Justice members called to cancel their attendance at the assembly

18   in the days following the arrests. Additional members expected to participate did not attend, and

19   many community organizers and advocates were notably absent. Likewise, Defendants' conduct

20   hampered Migrant Justice's ability to recruit new employees and gamer community support.

21              130.   Migrant Justice's Women's Group met monthly in 2015 and 2016, but stopped

22   meeting for two years due to members' fears about ICE and law enforcement activity, specifically the

23   arrests of Plaintiff Garcia Diaz and other members. Migrant Justice members widely understood that

24   ICE was surveilling Women's Group leader Marita Canedo, which referenced her "red car" on a

25   number of occasions, a fact confirmed by the informant.
26              131.   Defendants' conduct has caused a number of Vermont-based farm owners to

27   discourage their employees from participating in Migrant Justice activities for fear that their workers

28   would be detained. Further, fearing that advocacy would draw unwarranted attention from federal



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 1   authorities and many of their employees would be arrested, many farm owners are reluctant to

2    participate in the Milk with Dignity Program. This reluctance has protracted negotiations with

 3   companies such as Ben & Jerry's and continues to hinder the operation of the program and its

4    expansion to cover more farmworkers.

 5          132.    As a result of Defendants' speech suppression, Migrant Justice has had to divert away

 6   from priorities such as Milk with Dignity and redirect them towards combatting unconstitutional

 7   immigration practices. ICE's activities have forced Migrant Justice to devote significant time and

 8   resources to activities such as advocating for bond reductions for its indigent members and taking

 9   other measures to mitigate the harmful impact of the chilling of individual members' willingness to

10   continue to associate with the organization.

11          133.    Migrant Justice has had to divert a significant portion of their time to immigration-

12   defense related work, specifically combatting the DMV's discriminatory treatment against

13   immigrants, addressing ICE-based retaliatory arrests and surveillance practices, creating national

14   organizing and advocacy campaigns for their aggrieved members, and countless others. A significant

15   portion of staff time has been diverted away from labor-based advocacy to immigration-related work
16   due to Defendants' conduct.

17          134.    Members have also been forced to spend significant time training and protecting

18   members and leaders from ICE targeting and retaliation. These measures include preventative

19   measures, ranging from drafting, developing, and implementing emergency plans, to know-your-

20   rights trainings, among others.

21          135.    In addition, Defendants' unlawful retaliation and suppression of free speech has

22   caused Migrant Justice financial losses. Migrant Justice regularly serves as obligor for its members'

23   bond payments while they are in immigration detention. For instance, Migrant Justice advanced

24   funds to post bond of $6,000.00 each for members Peche Ventura and Hernandez Ramos. Migrant

25   Justice also posts funds into detained members' commissary funds to allow them to purchase
26   sufficient food while detained and provide transportation for detained individuals once released.

27          136.    The costs attendant to combating and mitigating Defendants' unconstitutional conduct
28   extend beyond bond payments. As the immigration judge overseeing Plaintiffs Balcazar Sanchez's



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 1   and Palacios Rodriguez's cases observed, advocacy in support of detained members was a strong

 2   factor supporting their release. Thus, to allow its members the opportunity to post bail, Migrant

 3   Justice has to organize rallies, protests, and marches in support of its detained members. Costs

 4   associated with these efforts include-but are not limited tc:r-significant staff time, printing costs,

 5   and travel to and from protests which often are located outside of the Boston Immigration Court,

 6   including costs associated with rental cars, charter buses, gas, and mileage reimbursement.

 7           137.   As a result of Defendants' unlawful conduct, Migrant Justice has been forced to

 8   expend significant financial resources, affecting the organization's operating budget, impairing its

 9   ability to function effectively, and creating tangible and articulable damages.

IO                  10.      ICE Targets Activists Around the Country for Speaking Out.
11           138.   ICE's efforts to undermine Migrant Justice are part of a pattern of ICE expending

12   significant resources to target, surveil, arrest, and detain immigrant activists and leaders across the

13   country in response to their protected political speech and activity.

14           139.   Since 2016, ICE has taken enforcement against no fewer than twenty high-profile

15   immigrant activist leaders for their political activism and public speech, including the following

16   individuals:

17
                    •     On March 2, 2017, ICE arrested Daniela Vargas of Mississippi, Deferred Action
18
                          for Childhood Arrivals ("DACA") recipient, after she spoke publicly about ICE
19                        raiding her family's home and arresting her brother and father.

20                  •     On May 18, 2017, CBP arrested Claudia Rueda of California, an immigrant rights
                          activist and college student, after she spoke out publicly about her mother's arrest.
21
                    •     In November 27, 2017, ICE arrested Baltazar Aburto Gutierrez of Washington
22
                          after he spoke to a local journalist. During the arrest, an ICE agent told him "you
23                        are the one from the newspaper."

24                  •     On December 20, 2017, ICE issued a Notice to Appear to and initiated an
                          enforcement action against Mam Mora Villalpando of Washington, a longtime
25                        activist and founder of the Northwest Detention Center Resistance.
26
                    •     On January 3, 2018, ICE arrested Jean Montrevil of New York, a longstanding
27                        activist with the New Sanctuary Coalition. He was deported less than two weeks
                          later, on January 16, 2018.
28



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 1                  •   On January 11, 2018, ICE arrested Ravi Ragbir of New York, a longstanding
                        activist with and Executive Director of the New Sanctuary Coalition. Ragbir has
2
                        since won a stay of removal from the Second Circuit Court of Appeals while his
3                       case is appealed.

4                   •   On January 11, 2018, ICE arrested Eliseo Jurado of Colorado, the husband of
                        Ingrid Encalada Latorre, a leader in Colorado's sanctuary movement who gained
 5                      media attention after she sought sanctuary from detention in a local church.
 6
                    •   On March 7, 2018, ICE arrested Alejandra Pablos of Virginia, a permanent
 7                      resident, after she helped lead a protest in Virginia outside of a DHS office.
                        Pablos is a longstanding immigrant activist and field coordinator for the National
 8                      Latina Institute for Reproductive Health.

 9                  •   In early April 2018, ICE detained Manuel Duran, a Memphis, Tennessee-based
                        journalist at the Memphis Noticias newspaper, who has a long history of
10
                        publicizing reports critical of federal immigration practices.
11
                    •   On July 24, 2018, in Racine Wisconsin, ICE arrested community leader Ricardo
12                      Fierro, the Council President of the local League of United Latin American
                        Citizens ("LULAC").
13
                    •   In October 2018, ICE detained Eduardo Samaniego of Massachusetts, an
14
                        immigrant rights leader and activist, who regularly spoke out against state laws
15                      that bar undocumented immigrants from attending higher education. Samaniego
                        was denied bond and upon accepting a voluntary departure on January 29, 2018,
16                      must leave the U.S. within 30 days.

17          140.    On January 26, 2018, thirty-one members of Congress sent a letter to ICE and DHS

18   expressing concern about the agencies' targeting of activists, which they explained "may create a

19   broader chilling effect within the community, dissuading some immigrants from invoking their legal

20   rights for fear that doing so will result in retaliation by ICE." On March 22, 2018, four members of

21   Congress sent a letter to ICE expressing concern about retaliation against activists, stating that "the

22   use of law enforcement resources to retaliate against critics and political opponents of the President is

23   contrary to our most basic democratic norms."

24          141.    These arrests reflect an even broader expressed antipathy toward individuals, entities,

25   and states who choose to challenge the administration's aggressive and intentionally intimidating

26   enforcement practices. Retaliatory arrests actively continue around the United States.

27          C.      The DMV Has a Policy, Pattern, or Practice of Sharing Information with ICE,
                    Motivated by Animus Against Latinos and Other Non-White People.
28



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 I             142.    DMV has had a long-standing policy, pattern, and practice of permitting its staff to
 2   routinely and regularly share information with ICE and Border Patrol and to actively seek to facilitate
 3
     the immigration enforcement activities of those two agencies.
 4
               143.    This information-sharing has included passing along information about individuals
 5
     that DMV staff believed to be in the country unlawfully and responding to informal ICE requests for
 6

 7   information about individuals, such as their Driver's Privilege Card application and supporting

 8   documentation or vehicle registration. The DMV and ICE worked so closely together that in one

 9   October 2014 email, ICE Agent Goff emailed DMV Detective Jonathan Purdy thanking him for
IO
     information and commenting, "We're going to have to make you an honorary ICE officer!"
11
               144.    Beyond providing information, DMV also cooperated by scheduling appointments and
12
     driver's tests around ICE's availability, requiring drivers to come to the DMV office unnecessarily,
13
     or imposing criminal charges for the purpose of exposing an individual to greater risk of immigration
14
15   enforcement.

16             145.    Many of these forms of cooperation were instrumental in the arrests and detention of

17   the individual Plaintiffs.
18
               146.    DMV staff specifically targeted Latinos for these practices: DPC applicants and
19
     holders with Latino surnames were far more likely to have their information shared with ICE than
20
     those with non-Latino surnames, despite there being more than four times as many DPC holders and
21

22   applicants than there are Latinos in Vermont.

23             14 7.   The policy, pattern, and practice exhibited by DMV staff and permitted by the DMV

24   represented a long-standing and deep-seated animus toward Latinos and non-white individuals, and
25
     are therefore perceived by DMV staff as "foreign," due to their physical appearance, surname, or
26
     accent.
27

28


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 1           148.    For example, DMV employees frequently highlighted the race of individuals whom
 2   they intended to investigate or referred to them as "immigrants" and "illegals." For instance, in a
 3
     December 2, 2014 email to a supervisor, DMV Investigator Jonathan Purdy recounted how he
 4
     noticed people who "appeared (illegal)" and "three people loitering outside (who appeared Mexican)"
 5
     at the OMV and called ICE agents' attention to these individuals to investigate. In the same email, a
 6

 7   DMV Investigator gratuitously noted that another DMV employee told him "she had a Mexican at

 8   her window who wanted to schedule a permit test."

 9           149.    In another example, a DMV communication made light of the discrimination: in a
10
     November 7, 2014 email, a DMV employee sarcastically remarked to a DMV Investigator: "I don't
11
     want to discriminate, I don't dare!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!" (fifty-three
12
     exclamation points in original).
13
             150.    That DMV knew of and permitted the discriminatory conduct is without question.
14

15   DMV employees' disproportionate focus on race and perceived ethnicity was evident across a broad

16   swath of communications received or viewed by supervisors. As early as October 2014, one DMV

17   officer included ICE contact regarding "another possible illegal" in a "Weekly Report" he wrote as a
18
     member of the DMV Investigation Division.
19
             151.    DMV supervisors also frequently received direct emails evidencing the animus and
20
     discriminatory intent. For example, on October 30, 2014, and many times thereafter, DMV Officer
21

22   Purdy emailed DMV Supervisor McIntyre-a DMV supervisor-about forwarding information to

23   ICE officers. He emailed her again on November 7, 2014 to express frustration with the DPC

24   program and to inform her that he forwarded "a rather large list to ICE," writing that he understood
25
     the purpose of the DPC program was to "accommodate illegal farm workers," but that "it doesn't
26
     appear to me these are farm workers!" In that same email, Purdy asked McIntyre why the state is
27

28



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1    "turning a blind eye toward illegals." And McIntyre received Purdy's email referring to people at the

2    OMV who "appeared illegal" and "appeared Mexican."
3
            152.    Additional emails from this time period demonstrate DMV's association of ethnicity
4
     and race with immigration status, and fixation on the perceived immigration status of DPC
5
     applicants. For example, on December 4, 2014, a OMV employee wrote to a colleague in response to
6

7    an exchange about compiling a list of addresses and residents, "Holy crap is right, we are being over

 8   run [sic] by immigrants." Another OMV employee noted that mail from one of the investigated

9    addresses was "all [addressed to] 'South of the Border' names."
10
            153.    OMV staff would also regularly and routinely open investigations-including
11
     contacting ICE-for no apparent reason other than the fact that the applicant presented a document
12
     from a Latin American country as identification or otherwise appeared "foreign" because they were
13
     non-white. In one case in July 2016, a OMV employee admitted that "We don't have a violation of
14

15   the DPC law," but sent the driver's information to ICE anyway. In another instance, in February

16   2016, a OMV employee sent a name to an ICE Agent and asked ICE "to check the guy for federal

17   warrants, deportation orders, etc.," despite there being no appearance of a violation. When ICE
18
     responded that the applicant had lawful immigration status, the OMV employee then facilitated
19
     checking the applicant's brother.
20
             154.   On September 23, 2016, a OMV investigator emailed to his supervisors a list of his
21

22   investigations broken down by race. The suspects of his investigations were disproportionately

23   Latino. Of 11 "Total Persons Encountered" between April 1 and September 23, 2016, the list notes

24   "IO Hispanic, I Caucasian," and a similar ratio of "8 Hispanic, l Caucasian" for investigations that
25
     resulted in "Suspend/Cancel," meaning the DPCs issued to the persons investigated were either
26
     suspended or their issuance canceled. That breakdown, though anecdotal, stands in sharp contrast to
27
     the breakdown of Vermont's population. Only about 10,900 Vermonters identify as "Hispanic or
28


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 1   Latino (of any race)," while 585,154 people-93.4% of the total Vermont population-identify as
2    "White alone, not Hispanic or Latino."
3
            155.    DMV's conduct motivated by prejudice against non-white individuals particularly
4
     Latinos, was so pervasive that, in an Investigative Report dated November 10, 2015, the Vermont
5
     Human Rights Commission found reasonable cause to believe that DMV engaged in discriminatory
 6

 7   practices. These practices included falsifying information on an individual's DPC application by

 8   checking a box for "proof of legal status" which the individual had left blank and then investigating

 9   him for purportedly providing that false information. The DMV applied its investigatory and referral
10
     policy-which the Report characterized as "vague"-in a discriminatory fashion.
11
            156.    The Human Rights Commission found that the DMV had worked to entrap the same
12
     individual and facilitate his arrest into ICE custody. The report noted specifically that the DMV's
13
     conduct-routing a DPC applicant into ICE custody because of their suspected immigration status-
14

15   was "at odds with the very intent of the [Driver Privilege Card] law," thereby engaging in "exactly

16   the thing that the DPC law was designed to prevent." (emphasis in original). The Commission

17   concluded that "no white citizen [Driver Privilege Card] applicants have ever been referred [to
18
     immigration officials] for investigation," while many non-white individuals had been, and that the
19
     DMV was "markedly hostile and objectively unreasonable" to the claimant "because of' [his] status
20
     as a non-white [] person [of Middle Eastern ethnicity]."
21

22           157.   On July 11, 2016, responding to the Human Rights Commission's investigations,

23   Nancy Prescott, DMV Branch Operations Manager, instructed DMV employees by email that they

24   "shouldn't be contacting homeland/ice at any point without being advised." [sic]
25
            158.    On August 25, 2016, the DMV entered a settlement agreement to resolve the
26
     investigation concerning the pervasive anti-immigrant bias ("Settlement Agreement").
27

28



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 1          159.    The Settlement Agreement, inter alia, sharply restricted the DMV's ability to transmit
 2   a DPC applicant's information to ICE. For instance, Section 2 of the Settlement Agreement provides:
 3
     "That subject to the provisions of the Drivers' Privacy Protection Act, absent subpoena or a criminal
 4
     warrant, DPC information contained on Applications shall be confidential including but not limited to
 5
     information related to legal presence, or national origin."
 6

 7          160.    The Drivers' Privacy Protection Act does not require the DMV to share confidential

 8   information with ICE for immigration enforcement purposes.

 9          161.    The prohibition extends beyond immigration status to other aspects of the application,
10
     such as the form itself and information accompanying the form, such as photos and vehicle
11
     registration information. The settlement agreement also required DMV "to adopt the essential
12
     elements of the Model Fair & Impartial Policing ('FIP') policy as adopted by the Vermont Criminal
13
     Justice Training Council [] as well as all of the non-essential elements [not listed here]." The FIP
14

15   policy that OMV was required to adopt included the following provisions:

16          •   "Federal law does not grant local and state agencies authority to enforce civil immigration
17              law. Similarly, state law does not grant local and state agencies authority to enforce
18
                immigration laws. [The DMVJ shall not dedicate [DMVJ time or resources to the
19
                enforcement offederal immigration law where the only violation of law is presence in the
20
                United States without authorization or documentation." (emphasis added).
21

22          •   Similarly, OMV officials "shall not facilitate the detention of undocumented individuals

23              or individuals suspected of being undocumented by federal immigration authorities for

24              suspected civil immigration violations."
25
            162.    In a memorandum dated January 31, 2017, Michael A. Smith, OMV Director of
26
     Operations, relayed the terms of the settlement to all OMV staff statewide. The memo directed: "DO
27

28



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 1   NOT run [immigration status] checks on undocumented applicants," regardless of the documentation

2    submitted.
 3
            163.      Yet, notwithstanding entering into the Settlement Agreement and issuing this
 4
     guidance, OMV staff still engage in a policy, pattern, and practice of anti-immigrant animus and
 5
     OMV leadership does not ensure that staff refrain from discriminatory conduct.
 6

 7          164.      For example, staff continue to share information and otherwise cooperate with ICE-

 8   even when such cooperation is contrary to agency policy. In April 2017, a DMV investigator told

 9   Seven Days, a Vermont news publication, that the settlement and FIP policy "doesn't make any
10
     difference" for his work. He also stated: "I'm not familiar with the settlement because, really, I don't
11
     have any interest with the settlement."
12
             165.     Further, in 2017, OMV staff shared information with immigration enforcement
13
     agencies about the following Individual Plaintiffs and Migrant Justice members:
14

15                •   On March 9, 2017, a OMV employee sent the license plate information for Plaintiff
                      Balcazar Sanchez to an ICE Officer.
16
                  •   On March 13, 2017, a OMV employee transmitted Plaintiff Balcazar Sanchez's OPC
17
                      application to an ICE Officer. In the margins of the application, a DMV employee had
18                    written the words "UNDOCUMENTED" and "PRNILEGE CARD." The OMV also
                      provided other personally identifying documents. See supra, ,i 84.
19
                  •   On March 15, 2017, ICE arrested Migrant Justice member Carrillo Sanchez. The 1-
20                    213 that ICE wrote for Carrillo Sanchez notes that ICE determined his alienage
                      through his Vermont OMV OPC application, including a copy of his Mexican
21
                      passport and his Mexican birth certificate. The DMV would have transmitted this
22                    information to ICE on or about March 2017. See supra, ,i 71.

23                •   On June 19, 2017, a OMV employee provided information about Migrant Justice
                      member Peche Ventura's OPC application and vehicular information to ICE officials.
24                    See supra, ,i 105.
25
            166.      Recent public records requests confirm that OMV staff continues a pattern and
26
     practice of sharing information with ICE and Border Patrol motivated by a dislike of non-white
27
     individuals, and Latinos in particular.
28



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 1          167.    Records obtained via a public records request in 2018 show that DMV continued to
 2
     respond to ICE inquiries, voluntarily providing ICE with confidential information including photos,
 3
     car registration information, and copies of applications. The routine nature of these communications
 4
     suggests a regular, ongoing practice.
 5
            168.    Furthermore, after the publication of emails between ICE and DMV in October 2016,
 6

 7   which painted the DMV in a critical light, DMV employees have chosen to limit their electronic mail

 8   communications and have undertaken to communicate with ICE via telephone. For example, after the

 9   Settlement Agreement, in a December 1, 2016 email, a DMV investigator forwarded his emails with
10
     ICE in response to a public records request, noting that "[m]ost of my interactions [with ICE] have
11
     been via phone."
12
            169.    This ongoing cooperation between the DMV, ICE, and CBP is enabled by DMV
13
     supervisors who tum a blind eye to the discriminatory conduct of their staff. There are only four
14

15   Criminal Investigators in the DMV Investigations Unit, overseen by two Criminal Unit Supervisors

16   and a Chief Inspector. Given the pattern of information-sharing by DMV officers, as well as DMV

17   officers' documented animus against Latinos and other non-white individuals-in some instances
18
     documented in emails to DMV supervisors-OMV supervisors know of or should know of the
19
     ongoing constitutional violations.
20

21
                                              COUNT ONE
22                           VIOLATION OF THE FIRST AMENDMENT
23                           OF THE UNITED STATES CONSTITUTION
                        (INTERFERENCE WITH FREEDOM OF ASSOCIATION)
24                              (All Plaintiffs against DHS Defendants)

25

26          170.    The right to expressive association "is implicit in the right to engage in activities

27   protected by the First Amendment." Roberts v. Jaycees, 468 U.S. 609,622 (1984). To have a

28



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1    protectable right of expressive association, "a group must engage in some form of expression,

2    whether it is public or private." Boy Scouts ofAmerica v. Dale, 530 U.S. 640, 648 (2000).

3           171.    Plaintiffs have engaged and continue to engage in protected speech and conduct.

4    Individual Plaintiffs, through their membership in Migrant Justice, have engaged and continue to

5    engage in political activism and advocacy against discriminatory government practices. A key part of

6    their activism is meeting with other migrant workers to discuss and analyze shared problems and to

 7   envision collective solutions. Plaintiff Migrant Justice continues its efforts to encourage greater

 8   numbers of migrant workers in Vermont to join the organization and advocate for their rights.

 9           172.   By targeting, surveilling, infiltrating, and engaging in disinformation towards Migrant

10   Justice members, Defendants directly and substantially interfere with Individual Plaintiffs' ability to

11   associate with Migrant Justice and with Migrant Justice and its members' ability to join together.

12   Defendants have caused a significant chill oflndividual Plaintiffs' and Migrant Justice's members'

13   rights to associate. Defendants' comments that associate immigration enforcement with Migrant

14   Justice activity and their ongoing surveillance and infiltration, have instilled in Plaintiffs and other

15   members and potential members ongoing fear of reprisal that has limited Plaintiffs' ability to

16   associate freely.

17           173.    Plaintiffs-Migrant Justice on its own behalf and on behalf of its membership, as well

18   as all Individual Plaintiffs-wish to continue engaging in their First Amendment-protected activities

19   to the fullest extent possible, but, as a result of Defendants' past, present, and likely future conduct,

20   are deterred from doing so.

21           174.    Defendants' targeting, infiltration, disinformation campaign, and surveillance of

22   Migrant Justice serves no compelling governmental interest. Nor does it reflect the least restrictive

23   means of engaging in immigration enforcement activities.

24           175.    Defendants' actions cause Plaintiffs significant harm, including chilling Plaintiffs'

25   speech, frustrating Migrant Justice's mission, causing Migrant Justice to divert significant resources,
26   as well as financial harm.
27
28


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 1           176.    Individual Plaintiffs have reason to fear that ICE may take continued action that

2    infringes on their associational rights, for example by revoking their bond for participation in Migrant

3    Justice activities.
                                                 COUNT TWO
4                               VIOLATION OF THE FIRST AMENDMENT
 5                              OF THE UNITED STATES CONSTITUTION
                           (FREEDOM OF SPEECH AND FREEDOM TO PETITION)
6                                  (All Plaintiffs against DHS Defendants)

 7           177.    "The rights to complain to public officials and to seek administrative and judicial

 8   relief are protected by the First Amendment." Gagliardi v. Vil!. of Pawling, 18 F.3d. 188, 194 (2d

 9   Cir. 1994). "[T]o petition for a redress of grievances is among the most precious of liberties

1o   safeguarded by the Bill of Rights" and is "intimately connected ... with other First Amendment

11   rights of free speech and free press." Id. at 195 (internal alterations and quotation marks omitted).

12           178.    Plaintiffs have engaged and continue to engage in protected speech and conduct.

13   Individual Plaintiffs, through their membership in Migrant Justice, Inc., have engaged and continue to

14   engage in protected speech including, but not limited to, Migrant Justice's continuous political

15   activism and advocacy to safeguard the right to freedom of movement and access to transportation, to

16   freedom from discrimination, and to improved living and working conditions. Plaintiffs' activism

17   has included petitioning elected officials to intervene and government agencies to provide relief

18   against discriminatory government practices.

19           179.     Defendants are engaged in a campaign of targeting, surveilling, infiltrating, providing

20   disinformation, arresting, and detaining Migrant Justice and its members, including Individual

21   Plaintiffs, that goes beyond legitimate law enforcement and surveillance activities.

22           180.     Defendants engagement in these activities undermines Migrant Justice's efforts and

23   abridges Migrant Justice and its members' ability to engage in protected speech and petition

24   activities.

25           181.     Defendants actions inhibit reasonable migrant workers from fully exercising their
26   rights to engage in speech and to petition the government.

27           182.     Defendants actions have significantly affected Plaintiffs' ability to advocate their
28   viewpoints and have caused a significant chill of Plaintiffs' rights to speak freely and petition the



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 1   government under the First Amendment. Defendants' targeting, surveillance, and harassment,

 2   actions would not have occurred but for Plaintiffs' protected speech.
 3           183.    Plaintiffs-Migrant Justice on its own behalf and on behalf of its membership, as well

 4   as all the Individual Plaintiffs-wish to continue engaging in their First Amendment-protected

 5   activities to the fullest extent possible, but, as a result of Defendants' past, present, and likely future
 6   conduct, are deterred from doing so.

 7           184.    Defendants cause Plaintiffs significant harm, including chilling Plaintiffs' speech,

 8   frustrating Migrant Justice's mission, causing Migrant Justice to divert significant resources, as well

 9   as financial harm.
                                              COUNT THREE
10
                                VIOLATION OF THE FIRST AMENDMENT
11                              OF THE UNITED STATES CONSTITUTION
                                             (RETALIATION)
12                              (Migrant Justice against all DHS Defendants)

13           185.    To prevail on a First Amendment retaliation claim, a plaintiff must show "(I) that the

14   speech or conduct at issue was protected, (2) that the defendant took adverse action against the

15   plaintiff, and (3) that there was a causal connection between the protected speech and the adverse

16   action." Gonzalez v. Hasty, 802 F.3d 212,222 (2d Cir. 2015) (quotation marks omitted).

17           186.    Migrant Justice has engaged and continues to engage in protected speech and conduct.

18   Its members have engaged and continue to engage in political activism and advocacy against

19   discriminatory government practices.

20           187.    By targeting, surveilling, infiltrating, and spreading disinformation to Migrant Justice

21   members, Defendants significantly affect the organization's ability to advocate its viewpoints and

22   hinder Migrant Justice's ability to advocate for economic protections for migrant farmworkers.

23           188.    Defendants' prior retaliatory conduct, including but not limited to surveillance and

24   infiltration, have instilled in Migrant Justice's members an ongoing fear of reprisal that has limited

25   the ability of its members to speak and associate freely and has therefore chilled the organization's
26   speech as a whole. Migrant Justice's First Amendment-protected activity motivates Defendants'

27   targeting, surveillance, infiltration, and disinformation activities, which would not occur but for the

28   organization's protected speech.



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 1           189.    Migrant Justice wishes to continue engaging in its First Amendment-protected

 2   activities to the fullest extent possible, but, as a result of Defendants' past, present, and likely future

 3   conduct, the organization has been deterred from being able to do so.

 4           190.    Defendants' actions cause Migrant Justice significant harm, including chilling

 5   members' speech, frustrating Migrant Justice's mission, causing Migrant Justice to divert significant

 6   resources, as well as financial harm.

 7
                                             COUNT FOUR
 8
        VIOLATION OF THE FOURTEENTH AMENDMENT OF THE U.S. CONSTITUTION
 9                                      (EQUAL PROTECTION)
            (Plaintiff Migrant Justice, on behalf of its Members, against Defendant Minoli)
10

11           191.    Plaintiffs bring this claim against Defendant Minoli in her official capacity under 42

12   U.S.C. § 1983 and Ex parte Young, 209 U.S. 123 (1908).
13
             192.    DMV employees consistently share personally identifying information about Plaintiffs
14
     with ICE. This information-sharing disproportionately targets and impacts non-white and Latino
15
     residents, and arises out of pervasive animus within the Vermont DMV against such individuals.
16
             193.    By sharing personally identifying information in this way and with this motivation,
17
18   Defendants deny Plaintiffs equal protection of the laws. U.S. Const., Amend. XIV,§ 1.

19           194.    The DMV were motivated by animus against non-white and Latino individuals.
20                                           COUNT FIVE
21               VIOLATION OF THE FEDERAL TORT CLAIMS ACT 28 U.S.C. § 2671
                     (INVASION OF PRIVACY: INTRUSION ON SECLUSION)
22                         (All Plaintiffs against Defendant United States)

23           195.    Plaintiff Migrant Justice asserts this claim on behalf of its membership.

24           196.    Plaintiffs adequately exhausted their administrative remedies as required under 28

25   U.S.C. § 2675 by filing federal tort claims against DHS on the basis of the incidents alleged. DHS

26   denied all claims by letters dated June 11, 2018.

27           197.    By committing the above-described acts, including but not limited to enlisting an

28   informant to surveil Plaintiffs at non-public meetings and in private spaces, eavesdropping on private



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 1   conversations and engaging in physical surveillance and harassment, Defendants committed a

 2   substantial and highly offensive interference within Plaintiffs' solitude.

 3              198.   As a direct and proximate result of Defendant's breaches of duties, Plaintiffs have

 4   suffered and continue to suffer damages.

 5              199.   Plaintiffs are entitled to damages against the United States for invasion of privacy to

 6   the full extent allowed under Vermont law and the FTCA, in an amount to be determined by the trier

 7   of fact.

 8              200.   Under the Federal Tort Claims Act, defendant United States of America is liable for

 9   these actions.
                                               COUNT SIX
10
                   VIOLATION OF THE FEDERAL TORT CLAIMS ACT 28 U.S.C. § 2671
11                     (INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS)
                             (All Plaintiffs against Defendant United States)
12
                201.   Plaintiffs adequately exhausted their administrative remedies as required under 28
13
     U.S.C. § 2675 by filing federal tort claims against DHS on the basis of the incidents alleged. DHS
14
     denied all claims by letters dated June 11, 2018.
15
                202.   By committing the above-described acts, including but not limited to ongoing
16
     surveillance and harassment, the knowledge obtained from which was used to intimidate Plaintiffs, as
17
     well as arrests conducted in a public and unnecessarily aggressive manner, Defendants, engaging in
18
     intentional extreme and outrageous conduct, caused Plaintiffs to suffer extreme emotional distress.
19
                203.   As a direct and proximate result of Defendant's breaches of duties, Plaintiffs have
20
     suffered and continue to suffer damages.
21
                204.   Plaintiffs are entitled to damages against the United States for intentional infliction of
22
     emotional distress to the full extent allowed under Vermont law and the FTCA, in an amount to be
23
     determined by the trier of fact.
24
                205.   Under the Federal Tort Claims Act, defendant United States of America is liable for
25
     these actions.
26

27

28



                                                           38
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 1                                         COUNT SEVEN
                VIOLATION OF THE FEDERAL TORT CLAIMS ACT 28 U.S.C. § 2671
 2                                   (FALSE IMPRISONMENT)
 3                   Plaintiff Balcazar Sanchez against Defendant United States)
            206.      Plaintiff Balcazar Sanchez adequately exhausted his administrative remedies as
 4
     required under 28 U.S.C. § 2675 by filing a federal tort claim against DHS on the basis of his March
 5
     17, 2017 arrest. OHS denied Plaintiff Balcazar Sanchez's claim on June 11, 2018.
 6
            207.      Here, Plaintiff Balcazar Sanchez shows that a person intentionally confined him
 7
     without the privilege to do so, and that person was conscious of the confinement.
 8
            208.      By arresting and detaining Plaintiff Balcazar Sanchez pursuant to a retaliatory official
 9
     policy related to his First Amendment-protected activity, Defendants confined him without the
10
     privilege to do so. Regardless of whether there was probable cause for an arrest, law enforcement
11
     officials lack the privilege to arrest an individual pursuant to a retaliatory policy. The confinement
12
     caused Plaintiff Balcazar Sanchez injury.
13
            209.      As a direct and proximate result of Defendants' breaches of duties, Plaintiff Balcazar
14
     Sanchez has suffered and continues to suffer damages.
15
            210.      Plaintiff Balcazar Sanchez is entitled to damages against the United States for false
16
     imprisonment to the full extent allowed under Vermont law and the FTCA, in an amount to be
17
     determined by the trier of fact.
18
            211.      Under the Federal Tort Claims Act, defendant United States of America is liable for
19
     these actions.
20
                                             PRAYER FOR RELIEF
21
             WHEREFORE, Plaintiffs respectfully request that the Court:
22
     A.     Declare that OHS Defendants' actions violate Plaintiffs' First Amendment rights by (1)
23
            infringing on their right to free association without a compelling governmental interest or
24
            using narrowly tailored means; (2) unlawfully targeting, surveilling, infiltrating, spreading
25
            disinformation, and harassing individuals to interfere with their ability to exercise their rights
26
            to free speech and to petition the government; and (3) unlawfully targeting, surveilling,
27
            infiltrating, spreading disinformation, and harassing individuals as retaliation for their prior
28



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 1         exercise of the right to free speech and free association and the right to petition the

 2         government;

 3   B.    Enjoin the DHS Defendants and any of their officers, agents, successors, employees,

 4         representatives and any and all persons acting in concert with them, prohibiting them from:

 5         I. Targeting, surveilling, infiltrating and spreading disinformation against Migrant Justice

 6            and its members;

 7         2. Surveilling, infiltrating, spreading disinformation, arresting, and detaining Migrant Justice

 8            members to inhibit the exercise of their rights to speech, association, and petition;

 9         3. Surveilling, infiltrating, spreading disinformation, arresting, and detaining Migrant Justice

10            members in retaliation for their prior exercise of their rights to speech, association, and

11            petition;

12         4. Using a confidential informant to complete any of the above;

13   C.    Declare that the DMV's actions violate Plaintiffs' Equal Protection rights by sharing

14         information with ICE in a manner that is motivated by animus against Latinos and other non-

15         white individuals;

16   D.    Grant injunctive relief against Defendant Minoli and any of her officers, agents, successors,

17         employees, representatives and any and all persons acting in concert with her:

18         1. Prohibiting DMV employees from sharing information or otherwise cooperating with

19            federal immigration enforcement agencies motivated by animus against Latino individuals

20            or other non-white individuals; and

21         2. Requiring DMV supervisors to take affirmative measures to train DMV employees and to

22             supervise DMV employees to ensure that no discriminatory information-sharing or

23            cooperation persists;

24   E.    Award Plaintiffs nominal, compensatory, statutory, and punitive damages under the Federal

25         Tort Claims Act for the Vermont torts of intrusion on seclusion, intentional infliction of

26         emotional distress, and false imprisonment;

27   F.    Award pre-judgment and post-judgment interest to the extent permitted by law;

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 I   G.    Award Plaintiffs their costs and expenses, including reasonable attorneys' fees under 42
 2         U.S.C. § 1988 and the Equal Access to Justice Act, 5 U.S.C. § 504, 28 U.S.C. § 2412; and

 3   H.    Award such further and additional relief as is just and proper.

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 5                                                     Respectfully submitted,

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 7   Date: January 31, 2019
           Burlington, Vermont
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 9
                                       • Pro Hae Vice Applications Forthcoming
10                                     •• Appearing Pro Hae Vice

11                                     Counsel for Plaintiffs

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